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explained how to identify whether materials contained on that combined Cellebrite report reflected
data from Phone-1, the iPad, or both.

       On Thursday, March 4, the Government produced additional, separate Cellebrite reports
for Phone-1 and the iPad, along with one-page summaries of those devices. (3501-0586 through
3501-0589).

        On Sunday, March 7, the Government offered to walk defense counsel through the process
of using the Cellebrite program to identify data unique to each device (and the Government in fact
provided that tutorial earlier today). In addition, on Sunday, March 7, the Government also
produced UFED reports that, to the best of the Government’s ability, contained only the items in
the iPad UFED report that did not also appear in the Phone-1 UFED report.

                                            Argument

    1. Legal Standard

           a. Sanctions for Spoliation of Evidence

        The Government’s obligations under the Due Process Clause to make timely disclosures
of exculpatory or impeaching evidence encompass evidence that is material and in its possession.
See Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972). For
these purposes, the Government is considered to have possession of information within the
individual prosecutor’s custody, as well as information in the possession of “others acting on the
government’s behalf in the case, including the police.” Kyles v. Whitley, 514 U.S. 419, 437 (2002).
In other words, a prosecutor’s constructive knowledge extends only to those individuals who are
part of the “prosecution team,” which generally includes individuals involved in “perform[ing]
investigative duties or mak[ing] strategic decisions about the prosecution of the case.” United
States v. Barcelo, 628 F. App’x 36, 38 (2d Cir. 2015); see also United States v. Avellino, 136 F.3d
249, 255 (2d Cir. 1998) (recognizing that “adopt[ing] a monolithic view of the government . . .
would condemn the prosecution of criminal cases to a state of paralysis”). The Second Circuit has
“never held that the ‘prosecution team’ includes cooperating witnesses.” Barcelo, 628 F. App’x
36, 38 (2d Cir. 2015) (quoting United States v. Garcia, 509 F. App’x 40, 43 (2d Cir. 2013)).

        In order to prevail on a due process claim relating to allegedly lost or destroyed evidence,
a defendant must establish that (1) collected evidence was, in fact, lost or destroyed,4 see United
States v. Ramirez, No. 09 Cr. 446, 2011 WL 6945199, at *2 (S.D.N.Y. Dec. 23, 2011) (holding
that defendant “failed to make the requisite showing” for sanctions based on purported destruction
of recordings because, inter alia, “with respect to the alleged recordings, it is not clear that any

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  The Second Circuit has not held that spoliation sanctions could be warranted based on a failure
to collect evidence, and has in fact expressed skepticism on this point. United States v. Greenberg,
835 F.3d 295, 303 (2d Cir. 2016) (noting lack of any substantive support for argument that “the
failure to collect evidence could ground a due process claim” in circumstances where the defendant
alleged that the prosecution team had “fail[ed] to take adequate steps to collect the original
[electronic evidence]”) (emphasis in original).
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were ever made”); (2) “that the evidence possessed exculpatory value that was apparent before it
was destroyed,” United States v. Greenberg, 835 F.3d 295, 303 (2d Cir. 2016), (3) that the evidence
“was of such a nature that the defendant would be unable to obtain comparable evidence by other
reasonably available means,” id.; and, (4) that the Government acted in “bad faith.” Id. Only if
the defendants meet their burden on each of these factors does the burden shift to the Government,
which must then show that sanctions should not be imposed because the defendants were not
prejudiced. United States v. Bufalino, 576 F.2d 446, 449-51 (2d Cir. 1978) (affirming denial of
motion to suppress where that was “minimal” “possibility that the defense could have usefully”
supplemented case with destroyed back-up tapes given their poor quality); see also United States
v. Henderson, 442 F. Supp. 2d 159, 163 (S.D.N.Y. 2006) (noting that “defendants must show”
that these requirements are met).

         Moreover, mere speculation about the “possibility” that evidence, if preserved, would have
been exculpatory “is not enough.” Arizona v. Youngblood, 488 U.S. 51, 56 n.* (1988); see also
United v. Davis, 531 F. App’x 65, 69 (2d Cir. 2013) (affirming denial of adverse inference
instruction where defendant “can only speculate that the [destroyed] video possessed exculpatory
value”). “The presence or absence of bad faith by the police for purposes of the Due Process
Clause must necessarily turn on the police’s knowledge of the exculpatory value of the evidence
at the time it was lost or destroyed.” Id. Thus, where the evidence at issue “might have led in any
number of directions,” as opposed to being apparently exculpatory prior to its loss or destruction,
the standard is not met. Id.; see also Greenberg, 835 F.3d at 304 (affirming denial of evidentiary
hearing and motion to dismiss indictment where, among other things, defendant “offer[ed] no facts
in support of his conclusion that the evidence was materially exculpatory, much less that the
Government could have known this information”); United States v. Campo Flores, S5 15 Cr. 765
(PAC), 2016 WL 5946472, at *4 (S.D.N.Y. Oct. 12, 2016) (no due process violation where
photographs were never collected, because they did not “possess an exculpatory value that was
apparent” to the Government before they were destroyed).

           b. Standard for Evidentiary Hearing

       A defendant seeking a hearing on a suppression motion bears the burden of showing the
existence of disputed issues of material fact. United States v. Martinez, 992 F. Supp. 2d 322, 326
(S.D.N.Y. 2014). “General and conclusory factual allegations which are based upon mere
suspicion or conjecture . . . will not suffice to necessitate a hearing.” Gentile v. County of Suffolk,
926 F.2d 142, 148 (2d Cir. 1991). Moreover, if “facts urged in support of hearing would not entitle
the moving party to relief as a matter of law, no evidentiary hearing is required.” Id.

           c. Standard for Recalling a Witness

        A district court has “broad discretion in controlling the scope and extent of cross-
examination,” United States v. Rivera, 971 F.2d 876, 886 (2d Cir. 1992), including whether to
permit a party to recall a witness. United States v. Fabian, 312 F.3d 550, 558 (2d Cir. 2002),
abrogated on other grounds by United States v. Parkes, 497 F.3d 220 (2d Cir. 2007). Among
other things, a district court retains discretion to refuse to permit a defendant to recall a witness
where (a) the defendant had a “full opportunity to cross-examine the witnesses during the
government’s case-in-chief,” United States v. Razzoli, 548 F. App’x 733, 735 (2d Cir. 2013); or
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(b) where the information sought to be elicited for impeachment purposes is not, in the district
court’s opinion, inconsistent with the relevant prior testimony, Fabian, 312 F.3d at 559.

   2. Discussion

           a. The Government Will Ensure that Hargreaves Is Available to Be Recalled,
              But May Object Depending on the Intended Examination

       Defendants seek the ability to recall Hargreaves in the event that they identify material
from the iPad relevant to the defense. After conferring with defense counsel, the Government has
agreed to ensure that Hargreaves will remain available in New York should that remedy be
appropriate. Depending upon the specific iPad material that forms the basis of the defendants’
request for further examination, however, the Government preserves the right to object to
Hargreaves being recalled. If, for example, the materials from the iPad that the defendants seek to
raise with Hargreaves were previously disclosed, are cumulative, or are consistent with the
Government’s previous disclosures, the Government believes that recalling Hargreaves would be
inappropriate because the defendants will have already had a “full opportunity to cross-examine
the witnesses during the government’s case-in-chief.” Razzoli, 548 F. App’x at 735.

           b. There is no basis to Preclude Cooperator Communications

        Citing to no legal relevant legal authority, the defense seeks to preclude “the written text
and email communications of the cooperating witness” on the basis that there is an “incomplete
record of his relevant communications.” (Dkt. 222 at 3). At the outset, the defendants’ assertion
that there is an incomplete record of the cooperator’s communications is unsupported by the
record. The Government has provided the defense with the entirety of Phone-1, which contains
communications, including with the defendants, through the date of the cooperator’s arrest in
September 2018. As to Phone-2, as described above, the Agent determined that the phone did not
contain any relevant evidence. Furthermore, as noted above, the Government has provided the
defense with

       Even assuming arguendo that the defendants’ did not receive a complete record of the
defendants’ communications, that would not be a basis to suppress other, lawfully obtained
evidence. The defendants’ reliance on Federal Rule of Criminal Procedure 16(d)(2)(C) is
misplaced. That rule provides that a Court may prohibit a party from introducing undisclosed
evidence if a party fails to comply with its Rule 16 obligations. Here, the defense seeks to preclude
the Government from introducing evidence that was produced to the defense in a timely manner.
The Government is not seeking to introduce any previously undisclosed evidence at all. There is
accordingly no legal basis for such a preclusion, particularly here, where there has been no showing
whatsoever of bad faith, apparent exculpatory value, or a failure to preserve relevant evidence that
was in the Government’s control. See, e.g., Campo Flores, S5 15 Cr. 765 (PAC), 2016 WL
5946472, at *4.
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           c. There is No Basis for an Adverse Inference Jury Instruction Or Any Other
              Relief

       The defendants also seek an adverse inference jury instruction “advising that the jury may
make an inference against the government’s failure to preserve evidence.” (Dkt. 222 at 3). The
defendants’ argument is meritless.

        First, the defendants fail to even attempt to articulate how they meet the factors set forth in
United States v. Garcia, 596 F. App’x 24, 26 (2d Cir. 2015), the very case they rely on in their
motion. The reason is clear: they cannot come close to meeting the Garcia factors here. As to
Phone-2, the Agent determined that Phone-2 had no evidentiary value. As a result, the Agent
returned Phone-2 to the cooperator. The defendants have pointed to nothing in the record to the
contrary; indeed, their speculation that the Government had in hand yet failed to preserve relevant,
exculpatory material from Phone-2 is wholly inconsistent with the undisputed facts that the
Government did in fact image and preserve data from Phone-1 and the iPad, all of which is now
in the defendants’ possession. The defendants have therefore failed to show that there was any
obligation to preserve the data from Phone-2; that the Agent chose not to image Phone-2 with a
culpable state of mind; or that any evidence on Phone-2 was relevant to the defense. Id.
Furthermore, the defense has failed to demonstrate that any evidence on Phone-2 possessed
apparent “exculpatory value,” or that the Agent or any member of the prosecution team acted in
bad faith. Greenberg, 835 F.3d at 303. The defendants’ outright speculation that this evidence
might have been exculpatory is insufficient. See Arizona v. Youngblood, 488 U.S. at 56 n.*.

        Second, as to the additional phones that the cooperator lost, the defendants’ again fail to
articulate why they are entitled to a limiting instruction. In particular, the defendants have failed
to identify any relevant, much less exculpatory, evidence that was supposedly contained on those
phones. See Greenberg, 835 F.3d at 303. Furthermore, they have made no assertion that the
Government acted in bad faith. Id. Finally, these additional phones were never in the
Government’s possession to begin with. See Barcelo, 628 F. App’x at 38 (noting that the Second
Circuit has “never held that the ‘prosecution team’ includes cooperating witnesses”) (internal
citation omitted).5




5
  The defendants’ reliance on United States v. Stoll, 2011 WL 703875, at *1 (S.D. Fla. Feb. 21,
2011) is misplaced. First, Stoll goes against the weight of the authority in finding that the
Government was liable for the conduct of a cooperator. Nevertheless, even there, the court
concluded that the Government had been grossly negligent in fulfilling its discovery obligations.
The defendants have made no similar assertions here and the record demonstrates that such
allegations would be unfounded.
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                                         Conclusion

        For all of the reasons described above, the defendants’ motion should be denied in its
entirety and without an evidentiary hearing.



                                           Very truly yours,

                                           AUDREY STRAUSS
                                           United States Attorney



                                       by: ___/s/_____________________
                                           Nicholas Folly
                                           Tara M. La Morte
                                           Emily Deininger
                                           Assistant United States Attorneys
